                          EXHIBIT 39


   Reading Document for the 2016-2017 Application Year
                  (UNC0323603-10)




Case 1:14-cv-00954-LCB-JLW Document 155-4 Filed 01/18/19 Page 1 of 9
Reading Document for the 2016-2017 Application Year
University of North Carolina at Chapel Hill
Office of Undergraduate Admissions

Foundations and Practices Regarding the Evaluation and Admission of Candidates

The Mission of the University

The admissions policies and practices of the University of North Carolina at Chapel Hill derive
from and are aligned with the mission of the University. The University's mission statement
confirms that the University "embrace[s] an unwavering commitment to excellence as one of the
world's great research universities." The statement also observes that Carolina exists to "serve as a
center for research, scholarship, and creativity and to teach a diverse community of undergraduate,
graduate, and professional students to become the next generation of leaders."

Trustee Policy on Undergraduate Admissions

The Board of Trustees' policy on admissions establishes a framework of competitive admissions
and mandates that candidates be selected largely on the basis of the University's "special
responsibility to residents of North Carolina" and its "judgment of the applicant's relative
qualifications for satisfactory performance" in the program to which the applicant seeks
admission. At the same time, this policy explicitly states that these two broad selection criteria

       ... shall not prevent the admission of selected applicants (a) who give evidence of
       possessing special talents for University programs requiring such special talents,
       (b) whose admission is designed to help achieve variety within the total number
       of students admitted and enrolled, or (c) who seek educational programs not
       readily available at other institutions.

The policy goes on to frame this interest in variety as an affirmation of the University's
"commitment to achieve excellence, to provide for the leadership of the educational,
governmental, scientific, business, humanistic, artistic, and professional institutions of the state
and nation, and to enrich the lives of all the people of North Carolina."

For admission to the first-year or freshman class, the policy specifies several criteria—including
"satisfactory evidence of scholastic promise" gleaned from the applicant's academic record,
recommendations, test scores, and application. For admission to the transfer class, criteria
include "a satisfactory academic record on work undertaken in all other institutions attended,
satisfactory recommendations from institutions previously attended, and eligibility to return to all
previously attended institutions of higher education." The policy further delegates to the Faculty
Advisory Committee on Undergraduate Admissions the authority to approve policies and
procedures regarding admissions that are "not inconsistent with policies adopted by the Board of
Trustees."




     Case 1:14-cv-00954-LCB-JLW Document 155-4 Filed 01/18/19 Page 2 of 9                              UNC0323603
The Academic Plan

Adopted in 2011, the University's current academic plan, Reach Carolina, articulates "six
interlocking priorities," all of them designed to help faculty, students, and staff "attain levels of
accomplishment and distinction befitting Carolina's mission as a leading public university."
These priorities include "ensur[ing] that every student at Carolina ... will have a
transformational academic experience." In keeping with this first priority, Reach Carolina calls
upon the University to "continually re-invigorate the academic experience at Carolina and
transform our students' intellectual skills, knowledge of the world, preparation for citizenship,
and vision of our common future."

Critical to the provision of these transformational academic experiences, and a distinct priority in
its own right, is a commitment to "[a]chieving equity and inclusion"—a commitment borne of
our faculty's academic judgment that diversity is "a vital ingredient of creative change." Reach
Carolina defines equity and inclusion as "an institutional educational priority that recognize[s]
how much Carolina's learning environment is enhanced by students, faculty, and staff from
multiple backgrounds and ethnicities interacting together."

Other Statements of Guidance Regarding Undergraduate Admissions

The principles inscribed in Reach Carolina have been anticipated or echoed in many other
documents endorsed by the University's Board of Trustees, Chancellor, and Faculty Council. In
1995, the Chancellor's Task Force on the Recruitment and Retention of Minority Students and
Faculty emphasized the fundamental educational value of diversity and called upon the
University to continue its efforts to identify, recruit, and enroll talented students of every
background. In 1998, the Faculty Council passed a resolution encouraging the University to
continue its efforts to recruit and enroll students of diverse backgrounds, perspectives, and
experiences, since interactions within such a student body constituted a necessary precondition
for educational excellence. In 2000, the Chancellor's Minority Affairs Review Committee found
diversity to be "a fundamental prerequisite to both educational excellence and to the University's
ability to serve all the people of the state."

The University's first academic plan, adopted in 2003, defined six academic priorities, all
grounded in the critical principle that the University must provide "the strongest possible
academic experience for undergraduate, graduate and professional students." These priorities
differed in focus but reflected shared judgments about the nature of Carolina academics: that
diversity, broadly construed, is fundamental to student success; that different students may
contribute to this success in different ways; and that Carolina, to fulfill its mission, must educate
leaders who are prepared to engage deeply with and function effectively within an increasingly
multicultural society. The 2003 plan observed that Carolina undergraduates "gain from a diverse
residential environment that complements and enriches their academic work" and called for
greater enrollment of students who would "add to the geographic, intellectual, artistic, and
cultural diversity of the student population." The plan also called upon the University to
"increase diversity among faculty, students and staff," because diversity is "critical to the
University's effectiveness in fully preparing students for the world."



                                                  2




     Case 1:14-cv-00954-LCB-JLW Document 155-4 Filed 01/18/19 Page 3 of 9                               UNC0323604
In 2005, after a formal, year-long assessment found "widespread agreement" among students,
faculty, and staff that "they [had] learned and benefited" from their interactions with colleagues
from different backgrounds, the University issued its first diversity plan. The plan found that
Carolina could not "achieve its educational, research, and service mission"—including its
mission to prepare students to "become leaders in [a] complex world"—without a University
community diverse in "social backgrounds, economic circumstances, personal characteristics,
philosophical outlooks, life experiences, perspectives, beliefs, expectations, and aspirations."
Calling for "the admission of students" who could contribute to such diversity, the plan also
established, as an institutional goal, the "achieve[ment] of critical masses of underrepresented
populations," since the absence of such critical masses "impedes the educational process" and
"can place undue pressure on underrepresented students and interfere with all students'
experiencing the educational benefits of a diverse learning environment."

In 2014, the University published a new diversity plan report. This report reaffirmed as an
ongoing institutional goal the necessity of "achiev[ing] the critical masses of underrepresented
populations necessary to ensure the educational benefits of diversity in faculty, staff, students,
and executive, administrative and managerial positions." The report also reinforced that
"attracting and retaining underrepresented minority students" enriches "the educational
experience for all members of the University community."

In 2016, in further recognition of the University's commitment to diversity and the educational
benefits it yields, Faculty Council passed a resolution reaffirming that student body diversity is
"a vital and necessary component of academic excellence." The resolution also underscored
Faculty Council's ongoing belief that "we believe we can achieve our educational, research, and
service missions only by creating and sustaining a diverse and inclusive environment."

Guidance of the Faculty Advisory Committee on Undergraduate Admissions

The Faculty Advisory Committee on Undergraduate Admissions is delegated authority by the
Board of Trustees to establish policies and procedures regarding undergraduate admissions. The
Committee has defined procedures designed to help the University achieve its mission by affording
each candidate a series of comprehensive, holistic, and individualized evaluations. Since
approving the addition of an essay to the first-year application in 1997, the Committee has acted
consistently to maintain and strengthen the University's commitment to such evaluations. The
Committee added a required teacher recommendation to the application in 2001; affirmed the use
of comprehensive review in 2002; and, in 2003, reviewed and affirmed the University's admissions
practices, including its flexible and nuanced use of race and ethnicity as one factor among many, in
light of the Gratz and Grutter decisions. The Committee has regularly evaluated the University's
admissions practices, has considered race-neutral alternatives to existing practices, and has
endorsed this same approach in subsequent years. Furthermore, these practices remain consistent
with applicable Supreme Court decisions, including the Court's 2016 decision in Fisher II.

In addition to taking these steps, the Advisory Committee has endorsed two general statements
about the practices, procedures, and criteria applicable to the University's undergraduate
admissions process. Both statements ground admissions practices in the mission of the University,
mandate comprehensive and individualized evaluations for all candidates, and articulate a broad
range of criteria to be used in these evaluations.

                                                  3




     Case 1:14-cv-00954-LCB-JLW Document 155-4 Filed 01/18/19 Page 4 of 9                            UNC0323605
In 1998, the Committee reviewed and endorsed the Faculty Statement on Principles of Service,
Diversity and Freedom of Inquiry. Adopted by Faculty Council in April 1998, this statement
confirmed that diversity "in its many manifestations" was essential to the fulfillment of the
University's educational and service missions, and that such an expansive notion of diversity
required that admissions decisions include

       ... consideration of (1) quantifiable data and qualitative information regarding educational
       preparation (including, when relevant, class rank, courses, degree(s), educational program,
       employment, grades, major, standardized test scores, volunteer activities, and work
       experience); (2) life experiences (including their variety, type, uniqueness, duration, and
       intensity); (3) factors that may contribute to diversity of presence (including, without
       limitation, age, economic circumstances, ethnic identification, family educational
       attainment, disability, gender, geographic origin, maturity, race, religion, sexual orientation,
       social position, and veteran status); (4) demonstrated ability and motivation to overcome
       disadvantage or discrimination; (5) desire and ability to extend knowledge-based services
       to enhance the quality of life of all citizens; and (6) motivation and potential to make a
       positive contribution to the educational environment of the University and to the
       University's fulfillment of its mission to serve all the people of the State, to enhance the
       quality of life for all people in the State, and to improve the conditions of human life.

In September 2007, the Committee unanimously approved a statement on the evaluation of
candidates for admission. This statement endorses admissions practices that are designed to yield a
"scholarly community" which in turn will help the University achieve its mission:

       In evaluating candidates for admission, we do not seek to maximize the average SAT score
       or the average eventual GPA of the entering class. Rather, we seek to shape the class so
       that its collective strengths will foster excellence within the University community;
       enhance the education of everyone within it; provide for the leadership of the educational,
       governmental, scientific, business, humanistic, artistic, and professional institutions of the
       state and nation; and enrich the lives of all the people of North Carolina.

       In so doing, we aim to help the University fulfill its mission to serve "the people of the
       state, and indeed the nation, as a center for scholarship and creative endeavor" and to be "a
       community engaged in original inquiry and creative expression, while committed to
       intellectual freedom, to personal integrity and justice, and to those values that foster
       enlightened leadership for the state and nation.

       The qualities sought in each class are those that foster such a scholarly community:
       intellect, talent, curiosity, and creativity; leadership, kindness, and courage; honesty,
       perseverance, perspective, and diversity. While each successful candidate will demonstrate
       strengths in many of these areas, no individual candidate is expected to be equally strong in
       all of them. Just as there is no formula for admission, there is no list of qualities or
       characteristics that every applicant must present.

       In shaping both the first-year class and transfer class, candidates are evaluated individually,
       rigorously, and sympathetically. Each candidate is assessed in ways in which he or she will
       likely contribute to the kind of campus community that will enable the University to fulfill

                                                  4




     Case 1:14-cv-00954-LCB-JLW Document 155-4 Filed 01/18/19 Page 5 of 9                            UNC0323606
       its mission. This assessment requires that not only the noted achievements and the
       potential of each applicant be considered but also that the context within which
       achievements have been realized and potential forged is clearly understood.

       These comprehensive and individualized evaluations aim to draw together students who
       will enrich each other's education and strengthen the campus community. In so doing, they
       help the University achieve its broader mission.

In February 2016, the Committee received, discussed, and approved a report on possible race-
neutral alternatives produced by a working group that had been convened by the Committee to
study such alternatives. In approving this report, the Committee concurred with the working group
that none of the methods that had been explored would be a satisfactory alternative to the current
practice of holistic, comprehensive, and individualized review.

The Evaluation Process

In keeping with principles established by the Advisory Committee, the Office of Undergraduate
Admissions assigns no fixed weights or points to any specific parts of the application for
admission, and it uses no formula to assess the students who have applied. With the exception of
the 18-percent limit on out-of-state enrollment in the first-year class, there are no quotas of any
kind. Applications are read over a period of roughly six months by approximately thirty
admissions officers, who collectively form the admissions committee.

Each application is assigned randomly to one of these committee members. The committee
member reads the application, assesses the applicant across specified attributes, formulates an
opinion about whether the student should be offered admission based on the totality of information
in the applicant's record, and writes a comment defending his or her recommended decision. If the
committee member determines that a second thorough review of the application is warranted, if the
committee member determines that a decision of admit is appropriate for an applicant considered
as a non-North Carolinian or if the initial review leads the committee member to determine that the
final admissions decision should be deferred, the application will receive a second review by a
senior member of the committee. When opinions differ on the recommended decision, the
decision of the senior reviewer will be entered as the preliminary decision. Prior to the release of
decisions, each decision receives a final review. Committee members are instructed to approach
each case with an open mind, seek first to understand the individual student, and take into account
the many qualities that we seek in each entering class.

Once all candidates have been reviewed and preliminary decisions entered, the admissions
committee uses a statistical model to predict the number of spaces in the entering class that are
likely to be filled by the students who have been earmarked provisionally for admission. After
comparing this predicted enrollment to the total number of spaces available for the entering class,
the committee may need to fine-tune the number of admitted students and then reevaluate
applications. If applications need to be reevaluated, that reevaluation is conducted by one or more
of the following: the director of admissions, the deputy director of admissions, the associate
director of admissions, or one or more subcommittees of the larger admissions committee
specifically constituted for this purpose.



                                                 5




     Case 1:14-cv-00954-LCB-JLW Document 155-4 Filed 01/18/19 Page 6 of 9                             UNC0323607
Throughout these many evaluations, members of the admissions committee are expected to
exercise their judgment as educators and to make cases for the admission of individual candidates
who they believe will contribute substantially to the scholarly community at Carolina and to the
achievement of the University's mission. As the Trustee policy stipulates, committee members are
charged with assessing each candidate's "relative qualifications for satisfactory [academic]
performance." In keeping with policies and procedures established by the Advisory Committee,
they are also explicitly and repeatedly encouraged to base their recommendations on everything
they know about candidates rather than on one or two criteria. They are also strongly encouraged
to seek out students who would bring an interesting or unusual talent, perspective, or set of diverse
experiences that might further foster the educational benefits of diversity among their classmates
and instructors. The goal, again, is to create both a first-year and transfer class that, taken together,
will help all of its students learn more than they might have learned separately and to provide these
students with the kind of experiences that will allow them to prepare themselves effectively for
their eventual lives as citizens and leaders.

Criteria for Admission

The goal of each evaluation is to understand the candidate individually, comprehensively, and
holistically. Accordingly, the relative weight or credit assigned to any individual criterion may
vary from candidate to candidate. Candidates for admissions are evaluated on everything the
admissions process reveals about them and not on the basis of formulas or preset scoring
requirements. Because individual students differ widely from one another, it is difficult, if not
impossible, to list every criterion that might be used over the course of an admissions season in
which more than 35,000 candidates are evaluated.

Typically, however, more than forty criteria, grouped roughly into eight categories, are used at
every stage in the admissions process. Exceptional strength in one or more of these areas, or an
exceptional combination of strengths, may make up for relative weaknesses in other areas,
provided the candidate demonstrates the capacity to succeed academically at the University.

•       Academic program criteria: rigor, breadth, and pattern of courses taken, all viewed
within the context of the entire applicant pool, and the student's high school and any previously
attended post-secondary institutions.

•        Academic performance criteria: grade-point average, rank in class, individual grades,
trends in grades, and patterns in grades, all viewed within the contexts of the entire applicant pool
and the student's high school and any previously attended post-secondary institutions.

•        Standardized testing criteria: results from the SAT or ACT, and available SAT Subject,
Advanced Placement, and International Baccalaureate exams, as well as occasional results from
state-mandated end-of-course exams, all viewed in light of the documented strengths and
limitations of these tests, for all first-year and sophomore transfer candidates

•     Extracurricular activity criteria: engagement outside the classroom; persistence of
commitment; demonstrated capacity for leadership; contributions to family, school, and
community; work history; unique or unusual interests.

•       Special talent criteria: in music, drama, athletics, and in writing,
                                                    6




     Case 1:14-cv-00954-LCB-JLW Document 155-4 Filed 01/18/19 Page 7 of 9                               UNC0323608
•      Essay criteria: idea, organization, voice, vocabulary, sentence structure and grammar;
evidence of self-knowledge and reflection; insightfulness; unique or unusual perspectives.

•       Background criteria: relative advantage or disadvantage, as indicated by family income
level, education history of family members, impact of parents/guardians in the home, or formal
education environment; experience of growing up in rural or center-city locations; status as child or
step-child of Carolina alumni.

•      Personal criteria: curiosity; kindness; creativity; honesty and integrity; motivation;
character; impact on community; exceptional achievement in-or-out of the classroom; history of
overcoming obstacles or setbacks; openness to new cultures and new or opposing ideas; talent for
building bridges across divisions in school or community or among individuals from different
backgrounds.

Again, this is a list of typical criteria rather than a checklist that all candidates must satisfy or a
limit on what any candidate may present. Because each student is unique, the admissions
committee does not arbitrarily limit the range of individual qualities that may be considered. Nor
does the committee limit the number of considerations, including background and personal
considerations, which may benefit any individual candidate. Students who are first-generation
college, for example, may on balance be stronger candidates for admission if they also come from
single-parent households or demonstrate a history of building bridges or overcoming obstacles.

In addition to quantifiable data such as grade-point average and rank in class, admissions criteria
include many indicators that cannot be easily quantified: individual course grades, as well as
trends and patterns in grades; the rigor, breadth, and pattern of courses taken; the fluency,
insightfulness, originality, and persuasiveness of the candidate's application essays; and the
curiosity, motivation, persistence, and openness to new ideas that are revealed in the application,
and especially in the recommendations and essays.

Race, Ethnicity, and National Origin

While race, ethnicity, or national origin may be used at any stage in the admissions process, it is
never used as anything other than one part of the comprehensive, holistic, and individualized
review afforded to each candidate. At no point in the process are candidates of different racial or
ethnic backgrounds reviewed in separate groups. Nor does the University have explicit or implicit
quotas for any particular racial or ethnic group, or for underrepresented students as a whole, or for
students of color as a whole.

Within this flexible and non-numbers-based consideration of race, and in support of the cultivation
of diversity broadly construed, the University also aims to enroll critical masses of students who
identify themselves as members of groups the University deems underrepresented. In this context,
the term "underrepresented" means those groups whose percentage enrollment within the
undergraduate student body is lower than their percentage within the general population in North
Carolina, a framework established in the 1981 consent decree between the University of North
Carolina system and the United States Department of Health, Education, and Welfare. Given this
definition, the University has for more than three decades considered as underrepresented those



                                                   7




     Case 1:14-cv-00954-LCB-JLW Document 155-4 Filed 01/18/19 Page 8 of 9                                 UNC0323609
students identifying themselves as African American or black; American Indian or Alaska Native;
or Hispanic, Latino, or Latina.

Consistent with the Supreme Court's decision in Grutter, the race or ethnicity of any student
may—or may not—receive a "plus" in the evaluation process depending on the individual
circumstances revealed in the student's application. And, while a "plus" that is awarded may be
significant in an individual case and tip the balance towards the admission of the student, it is not
automatically awarded, and not considered in terms of numeric points or as the defining feature of
an application. Even if awarded, a "plus" does not automatically result in an offer of admission. In
alignment with the direction provided by the Supreme Court, including most recently in its
decisions in Fisher I and Fisher II, the race and ethnicity of any applicant is always viewed in the
context of everything else that the admissions committee knows about a candidate and in light of
the range of contributions the candidate might make to the University community.

Socioeconomic Status

The University works strongly to attract and retain disadvantaged students regardless of race. This
is a critical component of the institution's obligation to the State of North Carolina and indeed to
the nation. As part of its broad effort to foster diversity within the scholarly community on
campus, the University's admissions process takes into account the socioeconomic status of each
candidate, with an eye towards increasing the number of disadvantaged students who are admitted
and eventually enroll. As with other criteria considered by the admissions committee, relative
disadvantage is assessed in ways that are both flexible and individualized—a continuum of
consideration rather than a simple on-off switch. Assessment of disadvantage must also in turn
inform the University's interpretation of the candidate's scores on standardized tests and other
academic indicators.

Other Aspects of Diversity

Because the University construes diversity broadly rather than narrowly, members of the
admissions committee seek to identify students who would offer their classmates and professors an
unusual or unique perspective, aptitude, achievement, or experience. As a means to this end, and
as part of the holistic and comprehensive review afforded to everyone, committee members
evaluate each candidate on the basis of his or her potential contribution to the broad diversity of the
student body and the University community. In this way, any student may receive a "plus" for
diversity in the evaluation.



                                                                               October 2016




                                                   8




     Case 1:14-cv-00954-LCB-JLW Document 155-4 Filed 01/18/19 Page 9 of 9                              UNC0323610
